         ___________________________________)
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         MICHAEL JAY BERGER (State Bar # 100291)
     1   LAW OFFICES OF MICHAEL JAY BERGER
         9454 Wilshire Blvd. 6th Floor
 2       Beverly Hills, CA 902 12-2929
         Telephone:     (310)271-6223
         Facsimile:     (310) 271-9805
         michael .bergerbankruptcypower.corn

         Proposed Counsel for Debtor and Debtor-in-Possession,
         Mr. Tortilla, Inc.
 6
                                   UNITED STATES BANKRUPTCY COURT
 7
                                     CENTRAL DISTRICT OF CALIFORNIA
 8
 9                                    SAN FERNANDO VALLEY DIVISION

10                                                        ) CASENO.: l:24-bk-10228-VK
         In re:                                           )
11                                                        ) Chapter 11
12       Mr. Tortilla, Inc.,                             )       DEBTOR’S EMERGENCY MOTION FOP
                                                         )       ORDER AUTHORIZING PAYMENT OF
13                                                       )       PRE-PETITION WAGES AND RELATEI)
                  Debtor and Debtor-in-Possession.       )       EXPENSES; MEMORANDUM OF
14                                                       )       POINTS AND AUTHORITIES;
                                                         )       DECLARATION OF ANTHONY
15                                                       )       ALCAZAR IN SUPPORT THEREOF
16                                                       3       jLBR 2081-1 and LBR 9075j
17                                                       ) Hearing Scheduled For:
                                                                 Date: February 22, 2024
18
                                                                 Time: 2:00p.m.
19                                                       )       Place: Courtroom 301 [via ZoornGov]
                                                         )              21041 Burbank Blvd., 3rd Floor
20                                                       )              Woodland Hills CA 91367
21                                                       1
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                                                         )
23                                                       )
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                                                             1
             DEBTORS EMERGENCY MOTION FOR ORDER AUTHORIZING PAYMENT OF PRE-PETITION WAGES AND RELATED
         EXPENSES; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF ANTHONY ALCAZAR IN SUPPORT TI-IEREOF
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     1           TO THE HONORABLE VICTORIA S. KAUFMAN, JUDGE OF THE UNITEI)
     2   STATES BANKRUPTCY COURT, TO THE OFFICE OF THE UNITED STATES
     3   TRUSTEE, SUBCHAPTER V TRUSTEE, TO SECURED CREDITORS, 20 LARGEST

         UNSECURED CREDITORS, AND TO ALL INTERESTED PARTIES AND THEIR

         COUNSEL OF RECORD:
 6
                 Mr. Tortilla, Inc., the Debtor and Debtor-in-Possession (“Debtor”) hereby does move this
 7
         Court on an emergency basis for an order authorizing it to issue payments of pre-petition wages
 8
         and related expenses (collectively, “Employees’ Compensation”) for the payroll period of
 9
         February 12, 2024 to February 18, 2024 which payroll will be issued on February 23. 2024 (the
10
         Motion”). Debtor operates a food processing business. Its employees are an essential part of

         Debtor’s business and are necessary for the Debtor to provide its products to its vendors and its
12
         direct customers. Failure to pay its employees on time, who rely on their paychecks to support
13
         their families and pay their personal expenses, will hurt Debtor’s reputation and will adversely
14
15       impact Debtor’s operations.

16              WHEREFORE, the Debtor prays that the Court enter an order granting the relief

17       requested in this emergency motion, authorizing payment to its employees, and such additional

18       relief as the Court deems just and proper.

19
20       Dated: 2/20/2024                       LAW OFFICES OF MICHAEL JAY BERGER

21                                              By:/s/Michael Jay Berger
                                                  Michael Jay Berger
22
                                                  Proposed Counsel Debtor-in-Possession,
23                                                Mr. Tortilla, Inc.

24
25
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                                                           2
            DEBTORS EMERGENCY MOTION FOR ORDER AUTFIORIZING IAYMENT OF PRE-PETITION WAGES AND RE[ATFl)
         EXPENSES: MEMORANDUM OF POINTS AND AUTI-IORITIES: DECLARATION OF ANTI-TONY ALCAZAR TN SUPPORT ThEREOF
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     1                            MEMORDANDUM OF POINTS AND AUTHORITIES
 2                                               I.     INTRODUCTION
 3                      Mr. Tortilla, Inc., the Debtor and Debtor-in-Possession herein (the Debtor”) pays
             the payroll obligations to its 32 full-time and part-time employees on a weekly basis.
             Debtor’s insiders. Anthony Alcazar, Ronald Alcazar, and Anthony Alcazar Sr.. are not on
 6
             the payroll, receive 1099 compensation, and will follow the compensation guidelines
             under Local Bankruptcy Rule 2014-1(a)(3) before they are pernitted to receive any
 8
             compensation from the Debtor. Debtor seeks approval for the payroll period of February’
 9
             12, 2024 to February 18, 2024 which payroll is to be issued on February 23, 2024. The
10
             total amount to be paid for this payroll period is approximately $35,000. Attached to the
             Declaration of Anthony Alcazar (the “Alcazar Dccl.”) as Exhibit-i is the staffing
12
             company invoice for all of the Debtor’s employees and the amount each employee
13
             received during the pre-petition payroll period of January 29. 2024             February 4, 2024.
14
                                                                                         —




15           and is the most recent payroll invoice available to Debtor. Debtor estimates the total

16           weekly amount due to its employees to be approximately the same as that of January 29,

17           2024   —   February 4, 2024 invoice.

18                      In order to maintain employees’ morale, prevent employees from quitting, and
19           continue operations, the Debtor recognizes the need to be able to pay the employees’
20       compensation and pre-petition expense reimbursement requests, if any. The Debtor
21       believes that failure to timely pay its Employees’ Compensation will adversely affect its
22       ability to retain its employees and to operate its business, and thereby frustrate its efforts
23       to reorganize.
24                  Thus, without this Court’s granting its approval of this Motion, the Debtor will
25
         lack authority to make any payments to the workers for Employees Compensation.
26
         which was earned and accrued pre-petition by the employees.’ Procedural authorization
27
28       1
          The pay period subject to this motion includes pre-petition dates of February 12, 2024   —   February 13,
         2024 and post-petition dates of February 14, 2024— February 18, 2024.
                                                             3
                DEBTOR’S EMERGENCY MOTION FOR ORDER AUTHORIZING I’AYMENT OF PRE-PETITION WAGES AND REI.AIFD
             EXPENSES MEMORANDUM OF POINTS AND AUTHORITIES, DECI.ARATION OF ANTHONY ALCAZAR IN SUPPORT IHEREOF
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     1    for an emergency hearing on the Motion is found in Local Bankruptcy Rules 9075 and
 2       2081-1. The Debtor respectfully submits that, on the facts of this case, emergency relief
 3       is both necessary and appropriate such that the Debtor’s employees can get compensated
         for the work done pre-petition.
                 By this Motion, Debtor seeks authority for payment of the Employees’
 6
         Compensation on the following terms and conditions:
                     1. Debtor will pay the Employees’ Compensation only to the extent of the
 8
                        $13,650.00 priority limit per employee provided by Sections 507(a)(4) and
 9
                        104 of the Bankruptcy Code. An estimate of such wage claims is attached
10
                        as Exhibit “1” to the Alcazar Declaration.
11
                    2. The Employees’ Compensation will be paid to Employees who continue to
12
                        be employed by Debtor as of the date of the hearing on this Motion.
13
                Debtor believes that paying the Employees’ Compensation as described
14
15       hereinabove is necessary to protect and preserve Debtor’s business and will not impair

16       the rights of any creditors in the case.

17                               II.   GENERAL BACKGROUND FACTS

18              On February 14, 2024 (the “Petition Date”), the Debtor commenced the Chapter

19       11 Case by filing a voluntary petition under chapter II of the Bankruptcy Code. The
20       Debtor operates its business and manage its property as a debtor in possession pursuant to
21       sections 1107(a) and 1108 of the Bankruptcy Code. No official committee of unsecured
22       creditors has been appointed in the Case.
23              The Debtor is a California corporation which is wholly owned by brothers
24       Anthony and Ronald Alcazar. The Debtor owns and operates a tortilla manufacturing and
25
         food processing business located in San Fernando      --   Mr. Tortilla   --   which was staed in
26
         2012. Anthony owns 81% of the shares and is the President and CEO. Ronald owns 19%
27
         of the shares and is the CFO.
28

                                                        4
             DEBTOR’S EMERGENCY MOTION FOR ORDER AUTHORIZING PAYMENT OF PRE-PETITION WAGES AND RELATED
         EXPENSES: MEMORANDUM OF POINTS AND AUTHORITIES: DECLARATION OF ANTHONY ALCAZAR IN SUPPORT THEREOF
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     1           The Debtor specializes in preparing traditional flour tortillas that are low fat, low
     2    calorie, low sodium and are free of cholesterol and trans-fat; the tortillas are unique as
     3   they are flexible and do not break or stick. Popular flavors include: Gourmet White:
         Whole Wheat; 1-Toney Wheat; Tomato & Basil; Savory Spinach; Chipotle; Jalapeflo. In
         addition to traditional flour tortillas, Debtor produces low-carbohydrate tortillas for low-
 6
         carb and keto dieters.
                 The Alcazar Brothers decided to start Mr. Tortilla as one of their fondest
 8
         childhood memories is that of their mother preparing flour tortillas on a flat griddle called
 9
         a cornal. The Debtor sells its tortillas to distributors and wrap manufacturers, and through
10
         online retailers such as Amazon.com and others. Debtor’s product is the top selling
         tortilla on Amazon.com.
12
                The events precipitating the Debtor’s current Chapter 11 bankruptcy include
13
         Debtor’s affiliated vendors, such as 8Fig, Inc., intercepting the Debtor’s receivables.
14
15              Debtor has 32 full-time and part-time non-insider employees. Debtor pays these

16       employees through a staffing company, Lyneer Staffing Solutions (“Lyneer”). Lyneer

17       pays I)ebtor’s employees, and sends an invoice to Debtor afterward. Lyneer has agreed to

18       continue working with Debtor post-petition. By this Motion, Debtor is seeking the

19       Court’s approval to pay Lyneer for pre-petition payroll expenses accrued for the pay
20       period of February 12, 2024 through February 18, 2024.
21
22                                              III. ARGUMENT

23               A. This Court Is Authorized To Allow The Debtor To Pay The Employee
24                                            Compensation

25              Section 105(a) of the United States Bankruptcy Code empowers the Court to issue

26       any order, process, or judgment that is necessary or appropriate to carry out the

27       provisions of the Bankruptcy Code. 11 U.S.C. § 105. The basic purpose of Section 105(a)

28       is ‘to enable the court to do whatever is necessary to aid in its jurisdiction, in anything

                                                          5
             DEBTOR’S EMERGENCY MOTION FOR ORDER AUTHORIZING PAYMENT OF PRE-PETITION WAGES AND RELATED
         EXPENSES; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF ANTHONY ALCAZAR IN SUPPORT TI {ERR)F
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     1   arising in or relating to a bankruptcy case.’ 2 Collier on Bankruptcy ¶ 105.02 at 105-4
     2   (15th ed. 1988). Essentially, Section 105(a) codifies the bankruptcy court’s inherent
     3   equitable powers. See, In re Felt & Drexier, Inc., 760 F.2d 406 (2d Cir. 1985).
                Section 507(a)(4) of the Bankruptcy Code provides, in pertinent part, as follows:
     5          (a) The following expenses and claims have priority in the following order:...
                (4) Fourth, allowed unsecured claims, but only to the extent of$ 12,475 [now
 6              $13,650.00] for each individual    earned within 180 days before the date of the
                                                    ...




 7              filing of the petition   for--
                                         ...




                (A) wages, salaries, or commissions, including vacation, severance, and sick leave
 8       pay earned by an individual;
                 11 U.S.C. § 507(a)(3).
10              As set forth above, Section 507(a)(4) affords priority status to unsecured claims
         for wages. salaries or commissions, including vacation, severance, and sick leave pay
12                     .   .   .     .    .


         earned by an individual within 180 days before the filing of a bankruptcy petition to the
13
         extent of $13,650.00 for each such individual.
14
                Bankruptcy courts have authorized debtors to pay pre-petition priority wage
15
         claims as a means of allowing debtors to maintain their work force and thereby preserve
16
         the debtor’s ability to operate in the ordinary course, without the disruption of employee
17
         defections.
18
19
               “In the early days of this case, the court entered orders permitting the post-
20             petition payment of certain pre-petition wage and wage-related claims. As is often
21             the case in operating Chapter 11 cases, the court did this for two reasons. First, it
               was necessary that Braniff pay its employees for work performed pre-petition if
22             the employees were to remain on the job post- petition. The filing of a bankruptcy
23             case presents many uncertainties for employees. If their pay is interrupted,
               employees are obviously not going to remain on the job despite the fact that their
24             continuation in place is vitally important for the debtor.
                      Second, in any event, the pre-petition wages are subject to the priority of
25
               Section 507(a)(3). Thus, in all but the direst of circumstances, the debtor will
26             ultimately pay the pre-petition wages because of their very high priority.
               Accordingly, the court authorizes their payment early in the case rather than
27
               requiring that the employees wait for payment at the end of the case.”
28

                                                          6
            DEBTOR’S EMERGENCY MOTION FOR ORDER AUTHORIZING PAYMENT OF PRE-PETITION WAGES AN1) RFLAITD
         EXPENSES; MEMORANDUM OF POINTS AND AUTHORITIES: DECLARATION OF ANTHONY ALCAZAR IN SUIIORT THEREOF
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 1   In re Braniff, Inc., 218 B.R. 628,633 (Bankr.M.D.Fla. 1998). See also Columbia Gas,
 2   171 B.R. 189,191-92 (Bankr. D. Del. 1994); In re Lehigh & New England Ry. Co., 657
 3   F. 2d 570,581 (3rd Cir. 1981); Ionosphere Club, 98 B.R. 175 (Bankr. S.D.N.Y. 1989). /n
 4   re Structurlite Plastics Corp., (Structurlite I) 86 Bankr. 922,932 (Bankr. S.D. Ohio
 5   1988),citing In re Chateaugay Corp., 80 Bankr. 279,287 (S.D.N.Y. 1987); See also In r
 6
     Columbia Packing Co., 35 Bankr. 447 (Bankr. D. Mass. 1983).
 7
 8          "Because wages are priority claims, courts have often permitted debtors to pay
            prepetition wage claims in the ordinary course in response to a motion filed by a
 9          debtor in possession at the commencement of a chapter 11 case. The ability to
            ensure that the employees receive their unpaid prepetition salary and do not miss a
10
            paycheck is critical to obtaining the stability necessary for the transition to
11          operating as a debtor in possession."
12
     Collier on Bankruptcy - 15th ed. Revised,,i 507.05[ I] (2000).
13          The authority to make such payments was recognized by the Ninth Circuit in In re
14
     Adams Apple, Inc., 829 F.2d 1484 (9th Cir. 1987):
15
16          "[A]nother "fundamental tenet"--rehabilitation of debtors,which may supersede
            the policy of equal treatment. Cases have permitted unequal treatment of pre­
17          petition debts when necessary for rehabilitation,in such contexts as (i) pre-petition
18          wages to key employees; (ii) hospital malpractice premiums incurred prior to
            filing; (iii) debts to providers of unique and irreplaceable supplies; and (iv)
19          peripheral benefits under labor contracts. See Ordin, Case Comment, In re Tex/on
            Corporation, 596 F.2d 1092 (2d Cir.1979): Finality of Order of Bankruptcy Court,
20
            54 Amer.Bankr.L.J. 173,177 (I 980). ... [I]t illustrates a Congressional
21          willingness to subordinate the interests of pre-petition creditors to the goal of
            rehabilitation."
22
     Adams Apple, 829 F.2d at 1490.
23
            In this case,without an order of this Court authorizing the Debtor to pay the pre­
24
25   petition Employees' Compensation,there will be a severe risk that employees will leave

26   the Debtor,thereby jeopardizing the Debtor's ability to maintain its operations and

27   reorganize its financial affairs.
28      B. Debtor's Relief is Justified on LBR 9075-l(a) and LBR 2081-1
                                                    7
         DEBTOR ·s EMERGENCY MOTION FOR ORDER AUTHORIZING PAYMENT OF PRE-PETITION WAGES AND RELATED
     EXPENSES: MEMORANDUM OF POINTS AND AUTHORITIES: DECLARATION OF ANTHONY ALCAZAR IN SUPPORT THEREOF
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     “[11:391] PRACTICE POINTERS: Critical Workers may leave unless they are paid on a
 2   regular basis. Thus, unless the motion is promptly filed and granted, the DIP’s continued
     operations may be at risk. Consider the following:

 4   •Coordinate petition filing with payroll due date: Time commencement of the
     bankruptcy case so that it is filed immediately after the workers are paid their
 5
     weekly/biweekly wages. Or, have the debtor issue a special payroll so that all prepetition
 6   wages are paid on the filing date.

     • Request prepetition payroll checks to be honored by banks post-petition: Where
 8   workers were paid prepetition wages by prepetition checks that have not been cashed by
     the time the case is filed, move the court for an order that the DIP’s bank may honor the
     checks postpetition.”
10   Cal. Prac. Guide Bankruptcy Ch. 11-B.
11
               Furthermore, pursuant to Local Bankruptcy Rule 2081- 1(a)(6), the Motion must b
12
     supported by evidence that establishes: (A) The employees are still employed; (B) The
13
     necessity for payment; (C) The benefit of the procedures; (D) The prospect of
14
     reorganization; (E) Whether the employees are insiders; (F) Whether the employees’
15
     claim are within the limits established by 11 U.S.C. § 507; and (G) The payment will not
16
     render the estate administratively insolvent.
17
     Debtor addresses each of these factors if not previously discussed above.
18
         (a) Employees are Still Employed
19
20          All the employees that are identified on Exhibit “I” are still employed by the

21   Debtor.

22       (b) The Necessity of the Payment and (c) The Benefit of the Procedures

23          As the Alcazar Declaration establishes, Debtor depends on its staff to carry on the

24   day-to-day operations of the Debtor who in turn rely on the Debtor to support themselves
25   and/or their families and are unlikely to continue working for the Debtor, if not paid. The
26   Debtor’s business is run, managed, and operated by its 32 full-time and part-time
27   employees at the present time. These employees help with the day-to-day operation of
28

                                                      8
         DEBTOR’S EMERGENCY MOTION FOR ORDER AUTHORIZING IAYMENT OF PRE-PETITION WAGES AND RELATED
     EXPENSES: MEMORANDUM OF POINTS AND AUTHORITIES: DECLARATION OF ANTHONY ALCAZAR IN SUPPORT TI-IEREOF
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     1   the business, which includes food product manufacturing, packaging, and sales. Without
 2       them, the Debtor cannot operate its business.
 3               It is the Debtor’s opinion that payment of pre-petition wages is necessary to enable
         the workers to pay their personal living expenses, and to retain their goodwill and
         prospective services. In contrast, if such wages are not immediately paid, the Debtor
 6
         believes that some of the employees will terminate their employment with the Debtor and
         seek other employment opportunities. If this occurs, revenue levels will decline
 8
         precipitously, especially if the Debtor’s employees quit, reducing the value of the estate’s
 9
         assets and impairing the rights of creditors. In contrast, if immediate relief is granted as
10
         prayed herein, asset values will be preserved. Under these circumstances, granting reliel’
         on an emergency basis is both necessary and appropriate.
12
            (d) Prospects of Reorganization
13
                Debtor is confident that it can emerge as a reorganized Debtor. Debtor’s product is
14
15       the top-selling tortilla on Amazon.com and projects that its income will remain steady for

16       this year and years to come, thus supporting Debtor’s efforts to reorganize.

17           (e) Whether The Employees Are Insiders

18               Debtor’s payroll employees are not insiders of the Debtor. Debtor’s insiders

19       receive compensation separately, and will follow the compensation guidelines under
20       Local Bankruptcy Rule 2014-1(a)(3) before they are permitted to receive any
21       compensation from the Debtor.
22           (1) Whether the Employees’ Claims are Within the Limits Established by 11
23               U.S.C.    507
24              As outlined in Exhibit “1”, and attached hereto, each employee’s claims are below
25
         the limits established by 11 U.S.C. § 507. See Exhibit “1” attached to Alcazar
26
         Declaration.
27
             (g) The Payment Will Not Render The Estate Administratively Insolvent.
28

                                                        9
             DEBTOR’S EMERGENCY MOTION FOR ORDER AUTHORIZING PAYMENT OF PRE-PETITION WAGES AND RELATED
         EXPENSES; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF ANTHONY ALCAZAR IN SUPPORT THEREOF
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     1           Debtor has/will have sufficient funds to pay its employees on February 23, 2024.
     2   Debtor currently has approximately $40,000.00 in its possession. Debtor is working with
     3   counsel to have $180,000.00 in receivables released to Debtor’s accounts. Debtors

         Emergency Cash Collateral Motion has been filed and is being heard concurrently vith

         this Motion on February 22. 2024.
 6
                                                   IV. CONCLUSION

                 Based upon the foregoing, Debtor respectfully requests that the Court grant the
 8
         relief prayed for herein and authorize payment of pre-petition wages to Debtor’s non-
 9
         insider employees for the February 12, 2024        —   February 1 8, 2024 pay period which is due
10
         to be issued on February 23, 2024.

12
         Dated: 2/20/24                         LAW OFFICES OF MICHAEL JAY BERGER
13
14
                                                By: Is/Michael Jay Berger
15                                                  Michael Jay Berger
                                                    Proposed Counsel for Debtor-in-Possession
16                                                  Mr. Tortilla, Inc.
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            DEBTOR’S EMERGENCY MOTION FOR ORDER AUTHORIZING PAYMENT OP PRE-PETITION WAGES AND RFIAIIiI)
         EXPENSES; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF ANTHONY ALCAZAR IN SUPPORT TI II:IG:OF
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     1                                DECLARATION OF ANTHONY ALCAZAR
 2                 1, Anthony Alcazar, declare and state as follows:
                   I.     I am the Chief Executive Officer of Mr. Tortilla, Inc. (the “Debtor”) herein.
         I have personal knowledge of the facts set forth below and if called to testify as to those
         facts, I could and would competently do so.
 6
                   2.     I make this declaration in support of Debtor’s Emergency Motion for Order
         Authorizing Payment of Pre-Petition Wages and Related Expenses (the ‘Motion”).
 8
                   3.     On February 14, 2024 (the “Petition Date”), the Debtor commenced the
 9
         Chapter 11 Case by filing a voluntary petition under chapter 11 of the Bankruptcy Code.
10
         The Debtor operates its business and manage its property as a debtor in possession
         pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No official committee of
12
         unsecured creditors has been appointed in the Case.
13
                  4.      The Debtor is a California corporation which is wholly owned by myself
14
15       and my brother, Ronald Alcazar. The Debtor owns and operates a tortilla manufacturing

16       and food processing business located in San Fernando          --   Mr. Tortilla   --   which was started

17       in 2012. I own 81% of the shares and I am the President and CEO. Ronald owns 19% of

18       the shares and is the CFO.

19                5.      The Debtor specializes in preparing traditional flour tortillas that are low
20       fat, low calorie, low sodium and are free of cholesterol and trans-fat; the tortillas are
21       unique as they are flexible and do not break or stick. Popular flavors include: Gourmet
22       White; Whole Wheat; Honey Wheat; Tomato & Basil; Savory Spinach; Chipotle;
23       Jalapeno. In addition to traditional flour tortillas, Debtor produces low-carbohydrate
24       tortillas for Iow-carb and keto dieters.
25
                  6.      My brother and I decided to start Mr. Tortilla as one of our fondest
26         .                  .   .                             .

         childhood memories is that of our mother preparing flour tortillas on a flat griddle called
27
         a cornal. The Debtor sells its tortillas to distributors and wrap manufacturers, and through
28

                                                          11
               DEBTOR’S EMERGENCY MOTION FOR ORDER AUTHORIZING PAYMENT OF PRE-PETITION WAGES AND RELATEI)
         EXPENSES: MEMORANDUM OF POINTS AND AUTHORITIES: DECLARATION OF ANTHONY ALCAZAR IN SUPPORT TI IEREOF
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     1   online retailers such as Arnazon.com and others. Debtor’s product is the top selling
 2       tortilla on Arnazon.com.
 3                  7.     The events precipitating the Debtor’s current Chapter 11 bankruptcy
         include Debtor’s affiliated vendors, such as 8Fig, Inc., intercepting the Debtor’s
         receivables.
 6
                    8.    Debtor has 32 full-time and part-time non-insider employees. Debtor pays
 7
         these employees through a staffing company, Lyneer Staffing Solutions (“Lyneer”).
         Lyneer pays Debtor’s employees, and sends an invoice to Debtor afterward. Lyneer has
 9
         agreed to continue working with Debtor post-petition. By this Motion, Debtor is seeking
10
         the Court’s approval to pay Lyneer for pre-petition payroll expenses accrued for the pay
         period of February 12, 2024 through February 18, 2024.
12
                          Debtor pays the payroll obligations to its 32 full-time and part-time
13
         employees on a weekly basis. Debtor’s insiders, myself, Ronald Alcazar, and Anthony
14
15       Alcazar Sr., are not on the payroll, receive 1099 compensation, and will follow the

16       compensation guidelines under Local Bankruptcy Rule 20l4-1(a)(3) before they are

17       permitted to receive any compensation from the Debtor. Debtor seeks approval for the

18       payroll period of February 12, 2024 to February 18, 2024 which payroll is to be issued on

19       February 23, 2024. The total amount to be paid for this payroll period is approximately
20       $35,000. Attached to the Declaration of Anthony Alcazar (the “Alcazar Decl.”) as
21       Exhibit-i is the staffing company invoice for all of the Debtor’s employees and the
22       amount each employee received during the pre-petition payroll period of January 29,
23       2024   —   February 4, 2024, and is the most recent payroll invoice available to Debtor.
24       Debtor estimates the total weekly amount due to its employees to be approximately the
25
         same as that of January 29, 2024     —   February 4. 2024 invoice.
26
27
28

                                                          12
            DEBTOR’S EMERGENCY MOTION FOR ORDER AUTHORIZING PAYMENT OF PRE-PETITION WAGES AND RElATED
         EXPENSES MEMORANDUM OF POINTS AND AUTHORITIES. DECLARATION OF ANTHONY ALCAZAR IN SUPPORT ‘II IEREOF
          Case 1:24-bk-10228-VK           Doc 14 Filed 02/20/24 Entered 02/20/24 19:00:58                     Desc
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     1            12.     Debtor’s insiders, including myself, will follow the compensation
 2        guidelines under Local Bankruptcy Rule 2014-1(a)(3) before I am permitted to receive
 3        any compensation from the Debtor.2

                  13.     Debtor has/will have sufficient funds to pay its employees on February 23,

         2024. Debtor currently has approximately $40,000.00 in its possession. Debtor is
 6
         working with counsel to have $180,000.00 in receivables released to Debtor’s accounts,

         Debtor’s Emergency Cash Collateral Motion has been filed and is being heard
 8
         concurrently with this Motion on February 22, 2024.
 9
10
                  I declare under penalty of perjury that the foregoing is true and correct and that
11
         this declaration is executed on February 20, 2024 in San Fernando, California.
12
13
                                          By:___________________________________
14                                          Anthony Alcazar, CEO of Debtor-in-Possession
                                            Mr. Tortilla, Inc.
15
16
17
18
19
20
21
22
23
24
25
26
27
28       2 Debtor’s insiders also include Janice Alexander and
                                                                 Richard K. Alexander. However, they do not
         receive any compensation from the Debtor.
                                                            13
            DEBTORS EMERGENCY MOTION FOR ORDER AUTI-IORIZING PAYMENT OF PRE-PETITION WAGES AND RELATED
         EXPENSES MEMORANDUM OF POINTS AND AUTHORITIES DEC[.ARATION OF ANTHONY ALCAZAR IN SUPPORT THEREOF
Case 1:24-bk-10228-VK   Doc 14 Filed 02/20/24 Entered 02/20/24 19:00:58   Desc
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                           EXHIBIT 1
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                                                                                                    Page:             1




  A
                               LYNE        ER
                               STAFFING SOLUTIONS
                                                                                                    lnvoce#:

                                                                                                    Invoice date:
                                                                                                                      308512

                                                                                                                      02/06/2024

                                                                                                    Pay Period:           1/29/2024   to    2/4/2024

  Customer:        Mr. Tortilla, Inc.- 1104 Fulfillment
                                                                                              Remit To:     Lyneer Staffing
                   Anthony Alcazar
                                                                                                            PC Box 88911
                   1104 Arroyo St.
                                                                                                            Milwaukee, WI 53288-8911
                   San Fernando, CA 91340


                                                                               To Pay Your Invoice Online by ACH Please Click Here.

  For billing questions please call               609-883-6884                                 Payment due by 04/06/2024.
                                          P0:
                                                                                                                                            Extended
Employee Name                             Position                          Type                 Hours                Rate                       Bill
Mata, Loany                               Fulfillment Associate $16.75      Regular                40.00             $21.78                   $871.00
Mata, Loany                               Fulfillment Associate $16.75      Overtime                7.37             $32.66                   $240.72

Summary for Fulfillment Associate $1 6.75                                                                           Subtotal:                $1,111.72
  Reg Hours:              40.00                Reg Amount:       $871.00
   CT Hours:                 7.37               OTAmount:        $240.72
   DTHours:                  0.00               DTAmount:           $0.00

                                          P0:
                                                                                                                                            Extended
Employee Name                             Position                          Type                 Hours                Rate                        Bill
Aleman, Karla                             Fulfillment Associate $19.00      Regular               40.00              $24.70                   $988.00
Aleman, Karla                             Fulfillment Associate $19.00      Overtime                6.90             $37.05                   $255.65

Summary for Fulfillment Associate $19.00                                                                            Subtotal:               $1243.65
 Reg Hours:               40.00                Reg Amount:       $988.00
  CT Hours:                  6.90              OTAmount:         $255.65
  DT Hours:                  0.00              DT Amount:           $0.00




 Client:                               Invoice:                                            Please include this page with your remittance
 Mr. Tortilla, Inc.- 1104 Fulfillme    308512                                              Remit to: Lyneer Staffing Solutions, LLC

   Hours Summary                    Amount Summary                                                                                         $2,355.37
       Reg:          80.00             Reg:      $1,859.00
        CT:          14.27              CT:        $496.37                                 Sales Tax                                           $0.00
        DT:           0.00              DT:          $0.00
                                                                                           Invoice Amount                                  $2,355.37
      Total:         94.27            Total:     $2,355.37

                                                                                       $
                                                                                       If the amount remitted is different from the
                                                                                       Amount Due, please explain on the reverse side.
   Late fee of 1.5%/month will be
   charged on all past due invoices
         Case 1:24-bk-10228-VK                    Doc 14 Filed 02/20/24 Entered 02/20/24 19:00:58                           Desc
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  A
                           LYNEER
                           STAFFING SOLUTIONS
                                                                                          Invoice#:

                                                                                          Invoice date:
                                                                                                            308513

                                                                                                            02/06/2024

                                                                                          Pay Period:           1/29/2024   to   2/4/2024

  Customer:        Mr. Tortilla, Inc.- 1110 Office
                                                                                    Remit To:     Lyneer Staffing
                   Anthony Alcazar
                                                                                                  P0 Box 88911
                   1110 Arroyo St.
                                                                                                  Milwaukee, WI 53288-8911
                   San Fernando, CA 91340


                                                                          To Pay Your Invoice Online by ACH Please Click Here.
  For billing questions please call           609-883-6884                            Payment due by 04/06/2024.
                                    PC:
                                                                                                                                 Extended
Employee Name                       Position                           Type             Hours                Rate                     Bill
Arellano, Hector                    Accounts Payable and               Regular           38.30             $25.80                  $988.14
                                    Receivable $20.00
Arellano, Hector                    Accounts Payable and               Overtime          13.25             $38.70                  $512.78
                                    Receivable $20.00

Summary for Accounts Payable and Receivable $20.00                                                        Subtotal:              $1,500.92
  Reg Hours:            38.30         Reg Amount:            $988.14
   OT Hours:            13.25          OTAmount:             $512.78
   DT Hours:             0.00          DT Amount:              $0.00

                                    P0:
                                              .                                                                                  Extended
Employee Name
                                          .

                                    Position                           Type             Hours               Rate                      Bill
wilde, Cassandra                    Office Personnel- $22.00           Regular           24.00             $28.38                  $681.12
wilde, Cassandra                    Office Personnel- $22.00           Overtime          16.77             $42.57                  $71390

Summary for Office Personnel- $22.00                                                                      Subtotal:              $1,395.02
  Reg Hours:            24.00        Reg Amount:             $681.12
   OT Hours:            16.77         OTAmount:              $713.90
   DTHours:              0.00         DTAmount:                $0.00

                                    P0:
                                                                                                                                 Extended
Employee Name                       Position                           Type             Hours               Rate                       Bill
Carrillo, Damian                   Office Personnel- $37.50            Regular           40.00             $48.38                $1,935.00

Summary for Office Personnel- $37.50                                                                      Subtotal:              $1,935.00
  Reg Hours:            40.00        Reg Amount:        $1,935.00
  OTHours:               0.00         OTAmount:                $0.00
   DTHours:              0.00         DTAmount:                $0.00
          Case 1:24-bk-10228-VK                     Doc 14 Filed 02/20/24 Entered 02/20/24 19:00:58                 Desc
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                            LYN       EER
                            STAFFING SOLUTIONS
                                                                                       Invoice #:

                                                                                       Invoice date.
                                                                                                       308513

                                                                                                       02/06/2024

                                                                                       Pay Period:     1/29/2024    to     2/4/2024

 Customer:        Mr. Tortilla, Inc.- 1110 Office
                                                                                 Remit To:     Lyneer Staffing
                  Anthony Alcazar
                                                                                               P0 Box 88911
                  1110 Arroyo St.
                                                                                               Milwaukee, WI 53288-8911
                  San Fernando, CA 91340


                                                                      To Pay Your Invoice Online by ACH Please Click Here.

 For billing questions please call              609-883-6884                      Payment due by 04/06/2024.




Client:                              Invoice:                                 Please include this page with your remittance
Mr. Tortilla, Inc.- 1110 Office      308513                                   Remit to: Lyneer Staffing Solutions, LLC

  Hours Summary                   Amount Summary                                                                         $4,830.94
    Reg:    102.30                  Reg:  $3,604.26
      OT:          30.02             OT:      $1,226.68                       Sales Tax                                      $0.00
       DT:           0.00            DT:          $0.00
                                                                              Invoice Amount                             $4,830.94
    Total:        132.32           Total:     $4,830.94

                                                                          $
                                                                         If the amount remitted is different from the
 Late fee of 1.5%/month will be                                          Amount Due, please explain on the reverse side.
 charged on all past due invoices
  ______
          Case 1:24-bk-10228-VK                   Doc 14 Filed 02/20/24 Entered 02/20/24 19:00:58                                Desc
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                                                                                              lnvoice#:         308511
                              L Y N                               E      E          R         Invoice date:     02/06/2024
                              STAFFING SOLUTIONS                                              Pay Period:            1/29/2024   to    2/4/2024

   Customer:          Mr. Tortilla, Inc.- 1112 Production
                      Anthony Alcazar                                                   Remit To:     Lyneer Staffing
                      1112 Arroyo St.                                                                 PC Box 88911
                      San Fernando, CA 91340                                                          Milwaukee, WI 53288-8911


                                                                             To Pay Your Invoice Online by ACH Please Click Here.

   For billing questions please call        609-883-6884                                 Payment due by 04/06/2024.
                                      P0:
                                                                                                                                       Extended
 Employee Name                        Position                           Type              Hours                 Rate                       Bill
Ortega, Alejandra                     Manager $27.00                     Regular            40.00              $35.10                   $1,404.00

Summary for Manager $27.00                                                                                    Subtotal:                $1,404.00
  Reg Hours:               40.00        Reg Amount:         $1,404.00
   OTHours:                 0.00         OTAmount:               $0.00
   DTHours:                 0.00         DTAmount:               $0.00

                                      P0:
                                                                                                                                       Extended
 Employee Name                        Position                           Type              Hours                 Rate                       Bill
Carlos, Alicia                        Production Worker $16.00           Regular            38.05              $280                      $791.44
Celadita, Barbara                     Production Worker $16.00           Regular            40.00              $20.80                    $832.00
Celadita, Barbara                     Production Worker $16.00           Overtime            7.37              $31.20                    $229.94
CHAVARRY, DENISSE                     Production Worker $16.00           Regular            39.23              $20.80                    $815.98
CHAVARRY, DENISSE                     Production Worker $16.00           Overtime            4.87              $31.20                    $151.94
Gaytan Cantillano, Jordania           Production Worker $16.00           Regular            40.00              $20.80                    $832.00
Gaytan Cantillano, Jordania           Production Worker $16.00           Overtime            1.72              $31.20                     $53.66
Gomez, Ena                            Production Worker $16.00           Regular            40.00              $20.80                    $832.00
Gomez, Ena                            Production Worker $16.00           Overtime            6.42              $31.20                    $200.30
Gonzalez, Karla                       Production Worker $16.00           Regular            40.00              $20.80                    $832.00
Gonzalez, Karla                       Production Worker $16.00           Overtime            4.10              $31.20                    $127.92
Maldonado. Edgar                      Production Worker $16.00           Regular            40.00              $20.80                    $832.00
Maldonado, Edgar                      Production Worker $16.00           Overtime            8.63              $31.20                    $269.26
Martinez, Guillermo                   Production Worker $16.00           Regular            40.00              $20.80                    $832.00
Martinez, Guillermo                   Production Worker $16.00           Overtime            4.18              $31.20                    $13042
pillaca, yacqueline                   Production Worker $16.00           Regular            40.00              $20.80                    $832.00
pillaca, yacqueline                   Production Worker $16.00           Overtime            5.23              $31.20                    $163.18
Revolorio Zuniga, Gloria              Production Worker $16.00           Regular            40.00              $20.80                    $832.00
Revolorio Zuniga, Gloria              Production Worker $16.00           Overtime            2.75              $31.20                     $85.80
Torres Saravia, Xiomara               Production Worker $16.00           Regular            40.00              $20.80                    $832.00
Torres Saravia, Xiomara               Production Worker $16.00           Overtime            5.27              $31.20                    $164.42

Summary for Production Worker $16.00                                                                          Subtotal:               $10,672.26
  Reg Hours:             437.28        Reg Amount:        $9,095.42
  CT Hours:                50.54        CT Amount:       $1,576.84
   DTHours:                 0.00        DTAmount:                $0.00
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                             LYN EER
                             STAFFING SOLUTIONS
                                                                                                  lnvoice#:

                                                                                                  Invoice date:
                                                                                                                    308511

                                                                                                                    02/06/2024

                                                                                                 Pay Period:            1/29/2024   to   2/4/2024

   Customer:         Mr. Tortilla, Inc.- 1112 Production
                     Anthony Alcazar                                                       Remit To:      Lyneer Staffing
                     1112 Arroyo St.                                                                      PD Box 88911
                     San Fernando, CA 91340                                                               Milwaukee, WI 53288-8911


                                                                                 To Pay Your Invoice Online by ACH Please Click Here.
   For billing questions please call                 609-883-6884                            Payment due by 04/06/2024.
                                     P0:
                                                     .                                                                                   Extended
 Employee Name                       Position
                                             •

                                                                              Type             Hours                 Rate                     Bill
Garcia, Erika                        Production Worker $16.25                 Regular           40.00              $21.13                   $845.00
Garcia, Erika                        Production Worker $16.25                 Overtime           0.37              $31.69                    $11.72

Summary for Production Worker $16.25                                                                              Subtotal:                $856.72
  Reg Hours:              40.00        Reg Amount:                  $845.00
   OTHours:                0.37         OTAmount:                    $11.72
   DTHours:                0.00         DTAmount:                     $0.00

                                     P0:
                                                 .                                                                                       Extended
                                                                                               Hours                 Rate
                                         .

 Employee Name                       Position                                 Type                                                            Bill
Escobar, Ofelia                      Production Worker $16.50                 Regular           32.00              $21.45                  $686.40
Escobar, Ofelia                      Production Worker $16.50                 Overtime           4.65              $32.18                  $149.61

Summary for Production Worker $16.50                                                                              Subtotal:                $836.01
  Reg Hours:              32.00        Reg Amount:                  $686.40
   OTHours:                4.65         OTAmount:                   $149.61
   DTHours:                0.00         DTAmount:                     $0.00

                                     P0:
                                                 .                                                                                       Extended
Employee Name                        Position                                 Type             Hours                Rate                      Bill
Leal Olivo, Aurora                   Production Worker $17.00                 Regular           40.00              $22.10                  $884.00
Leal Olivo, Aurora                   Production Worker $17.00                 Overtime           7.90              $33.15                  $261.89
Lopez, Cynthia                       Production Worker $17.00                 Regular           37.22              $22.10                  $822.56
Lopez, Cynthia                       Production Worker $17.00                 Overtime           5.38              $33.15                  $178.35
Rios, Maria                          Production Worker $17.00                 Regular           20.00              $22.10                  $442.00

Summary for Production Worker $17.00                                                                              Subtotal:              $2,588.80
  Reg Hours:             97.22        Reg Amount:              $2,148.56
   OTHours:               13.28        OTAmount:                    $440.24
   DTHours:               0.00         DTAmount:                      $0.00

                                     P0:
                                                                                                                                         Extended
Employee Name                        Position                                 Type            Hours                 Rate                      Bill
Alanis, Sandra                      Production Worker $17.25                  Regular          40.00               $22.43                  $897.00
Alanis, Sandra                      Production Worker $17.25                  Overtime          3.08               $33.64                  $1 03.60
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                             LYN      EER
                              AFFING SOLUTIONS
                                                                                                  Invoice#:

                                                                                                  Invoice date:
                                                                                                                    308511

                                                                                                                    02/06/2024

                                                                                               Pay Period:           1/29/2024   to    2/4/2024
   Customer:       Mr. Tortilla, Inc.- 1112 Production
                   Anthony Alcazar                                                      Remit To:         Lyneer Staffing
                   1112 Arroyo St.                                                                        P0 Box 88911
                   San Fernando, CA 91340                                                                 Milwaukee, WI 53288-8911


                                                                              To Pay Your Invoice Online by ACH Please Click Here.
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 Summary for Production Worker $17.25                                                                             Subtotal:            $1,000.60
   Reg Hours:           40.00        Reg Amount:                $897.00
   OTHours:               3.08         OTAmount:                $103.60
    DTHours:              0.00         DTAmount:                  $0.00

                                   P0:
                                                                                                                                      Extended
 Employee Name                     Position                               Type              Hours                    Rate                    Bill
Vasquez, Lorena                    Production Worker $17.75               Regular            36.32                 $23.08                $838.08
Vasquez, Lorena                    Production Worker $17.75               Overtime            4.18                 $34.61                $144.68

Summary for Production Worker $17.75                                                                              Subtotal:             $982.76
  Reg Hours:            36.32        Reg Amount:                $838.08
   OTHours:              4.18         OTAmount:                 $144.68
   DTHours:              0.00         DTAmount:                   $0.00

                                   P0:
                                        •                                                                                             Extended
Employee Name                      Position                               Type              Hours                   Rate                    Bill
Hernandez, Maria                   Production Worker $18.00               Regular            31.97                 $23.40               $748.10
Hernandez, Maria                   Production Worker $18.00               Overtime            1.15                 $35.10                 $40.37

Summary for Production Worker $18.00                                                                              Subtotal:             $788.47
  Reg Hours:            31.97       Reg Amount:                 $748.10
   OTHours:              1.15        OTAmount:                   $40.37
   DTHours:              0.00         DTAmount:                   $0.00

                                   P0:
                                         .   .
                                                                                              /                                       Extended
Employee Name                      Position                               Type              Hours                   Rate                    Bill
Angon, Natividad                   Production Worker $18.75               Regular            39.93                 $24.38               $973.29
Angon, Natividad                   Production Worker $18.75               Overtime            9.05                 $36.56               $330.89
Merino Dominguez, Maura           Production Worker $18.75                Regular            40.00                 $24.38               $975.00
Merino Dominguez, Maura           Production Worker $18.75                Overtime            5.43                 $36.56               $198.53

Summary for Production Worker $18.75                                                                          Subtotal:               $2,477.71
  Reg Hours:           79.93        Reg Amount:            $1,948.29
   OT Hours:           14.48         OT Amount:             $529.42
   DTHours:             0.00         DTAmount:                   $0.00

                                  P0:
                                                                                                                                      Extended
Employee Name                     Position                                Type             Hours                    Rate                   Bill
Francisco Sanchez, Agustin        Production Worker $19.00                Regular           40.00                 $24.70                $988.00
Francisco Sanchez, Agustin        Production Worker $19.00                Overtime          10.52                 $37.05                $389.77
  ______
        Case 1:24-bk-10228-VK               Doc 14 Filed 02/20/24 Entered 02/20/24 19:00:58                               Desc
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                                                                                        Invoice#:         308511
                            LYNEER                                                      Invoice date.     02/06/2024
                            STAFFING SOLUTIONS                                          Pay Penod:            1/29/2024   to   2/4/2024

  Customer:      Mr. Tortilla, Inc.- 1112 Production
                 Anthony Alcazar                                                  Remit To:     Lyneer Staffing
                 1112 Arroyo St.                                                                P0 Box 88911
                 San Fernando, CA 91340                                                         Milwaukee, WI 53288-89 1 1


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Maldonado, Maria                 Production Worker $19.00           Regular            40.00             $24.70                  $988.00
Maldonado, Maria                 Production Worker $19.00           Overtime            8.40             $37.05                  $311.22

Summary for Production Worker $19.00                                                                    Subtotal:               $2,676.99
  Reg Hours:           80.00       Reg Amount:         $1,976.00
   OTHours:            18.92          OTAmount:          $700.99
   DTHours:             0.00          DTAmount:             $0.00

                                 P0:
                                                                                                                               Extended
Employee Name                    Position                           Type             Hours                 Rate                     Bill
Francisco Sanchez, Javier        Production Worker $20.00           Regular           40.00              $26.00                 $1,040.00
Francisco Sanchez, Javier        Production Worker $20.00           Overtime          23.48              $39.00                  $915.72
LOPEZ GONZALEZ, MARIA            Production Worker $20.00           Regular           40.00              $26.00                $1,040.00
LOPEZ GONZALEZ, MARIA            Production Worker $20.00           Overtime            7.98             $39.00                  $311.22

Summary for Production Worker $20.00                                                                    Subtotal:              $3,306.94
  Reg Hours:           80.00       Reg Amount:         $2,080.00
   OTHours:           31.46         OTAmount:          $1,226.94
   DTHours:             0.00          DTAmount:             $0.00

                                 P0:
                                                                                                                               Extended
Employee Name                    Position                           Type             Hours                Rate                       Bill
Pineda, Sergio                   Production Worker $22.00           Regular           24.00              $28.60                  $686.40
Pineda, Sergio                   Production Worker $22.00           Overtime           4.02              $42.90                  $172.46

Summary for Production Worker $22.00                                                                    Subtotal:                $858.86
 Reg Hours:           24.00        Reg Amount:           $686.40
  OTHours:             4.02        OTAmount:             $172.46
  DT Hours:            0.00         DT Amount:              $0.00

                                 P0:
                                                                                                                               Extended
Employee Name                    Position                           Type             Hours                Rate                       Bill
Guarneros Gomez, Rarniro         Production Worker S2b.0O           Regular           22.50              $33.80                  $760.50
Guarneros Gomez, Ramiro          Production Worker $26.00           Overtime          20.24              $50.70                $1,026.17

Summary for Production Worker $26.00                                                                    Subtotal:              $1,786.67
 Reg Hours:           22.50       Reg Amount:           $760.50
  CT Hours:           20.24        OTAmount:           $1,026.17
  DT Hours:            0.00        DTAmount:                $0.00
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                           LYNE        ER                                              Invoice #:

                                                                                       Invoice date:
                                                                                                       308511

                                                                                                       02/06/2024
                           STAFFING SOLUTIONS                                          Pay Period:     1/29/2024    to     2/4/2024

Customer:        Mr. Tortilla, Inc.- 1112 Production
                                                                                 Remit To:     Lyneer Staffing
                 Anthony Alcazar
                                                                                               PC Box 88911
                 1112 Arroyo St.
                                                                                               Milwaukee, WI 53288-8911
                 San Fernando, CA 91340


                                                                      To Pay Your Invoice Online by ACH Please Click Here.

For billing questions please call               609-883-6884                      Payment due by 04/06/2024.




Client:                              Invoice:                                 Please include this page with your remittance
Mr. Tortilla, Inc.- 1112 Product    308511                                    Remit to: Lyneer Staffing Solutions, LLC

  Hours Summary                Amount Summary                                                                            $30,236.79
     Reg:       1,041.22            Reg:    $24,113.75
      CT:         166.37             OT:     $6123.04                         Sales Tax                                       $0.00
      DT:           0.00             DT:          $0.00
                                                                              Invoice Amount                             $30,236.79
    Total:      1,207.59           Total:   $30,236.79

                                                                          $
                                                                          If the amount remitted is different from the
                                                                          Amount Due, please explain on the reverse side.
 Late fee of 1.5%/month will be
 charged on all past due invoices
           Case 1:24-bk-10228-VK                           Doc 14 Filed 02/20/24 Entered 02/20/24 19:00:58                          Desc
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                             LYNE        ER                                                          Invoice #:

                                                                                                     Invoice date:
                                                                                                                       308557

                                                                                                                       02/06/2024
 A                           STAFFING SOLUTIONS                                                      Pay Period:       1/29/2024    to    2/4/2024

  Customer:       Mr. Tortilla, Inc.- 8134 Lankershim
                                                                                               Remit To:     Lyneer Staffing
                  Mr. Tortilla, Inc.
                                                                                                             PC Box 88911
                  1110 Arroyo St.
                                                                                                             Milwaukee, WI 53288-8911
                  San Fernando, CA 91340


                                                                                To Pay Your Invoice Online by ACH Please Click Here.

  For billing questions please call                609-883-6884                                 Payment due by 04/06/2024.
                                        P0:
                                                   .                                                                                      Extended
Employee Name
                                               •

                                        Position                             Type                 Hours                Rate                      Bill
Campos, Miguel                          Production Worker $16.00             Regular                32.00             $20.80                $665.60
Campos, Miguel                          Production Worker $16.00             Overtime                4.42             $31.20                $137.90

centeno, erick                          Production Worker $16.00             Regular                32.00             $20.80                $665.60
centeno, erick                          Production Worker $16.00             Overtime                4.42             $31.20                $137.90

Summary for Production Worker $16.00                                                                                 Subtotal:             $1,607.00
  Re9 Hours:             64.00               Reg Amount:         $1,331.20
   CT Hours:                8.84             OTAmount:            $275.80
   DT Hours:                0.00             DTAmount:              $0.00




 Client:                              Invoice:                                              Please include this page with your remittance
 Mr. Tortilla, Inc.- 8134 Lankers    308557                                                 Remit to: Lyneer Staffing Solutions, LLC

   Hours Summary                   Amount Summary                                                                                        $1,607.00
      Reg:          64.00            Reg:          $1,331.20
       CT:           8.84             CT:              $275.80                              Sales Tax                                        $0.00
        DT:          0.00             DT:                $0.00
                                                                                            Invoice Amount                               $1,607.00
     Total:         72.84           Total:         $1,607.00

                                                                                        $
                                                                                        If the amount remitted is different from the
                                                                                        Amount Due, please explain on the reverse side.
   Late fee of 1.5%/month will be
   charged on all past due invoices
            __________________,

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                                          PROOF OF SERVICE OF DOCUMENT


I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
9454 Wilshire Blvd., 6th Fl., Beverly Hills, CA 90212


A true and correct copy of the foregoing document entitled (specify): DEBTOR’S EMERGENCY MOTION FOR
ORDER AUTHORIZING PAYMENT OF PRE-PETITION WAGES AND RELATED EXPENSES;
MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF ANTHONY ALCAZAR IN
SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form and manner required by
LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
2/20/2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Debtor’s Proposed Counsel: Michael Jay Berger              michael .bergerbankruptcypower.coin,
 ith (Id Ii ph u hanki up1c_ pO’,\ ci corn iii ih ic.l hcr i a I iii loi uplcLorn
U.S. Trustee: Katherine Bunker
United States Trustee (SV)  ustpregion 1 6.wh.ecfusdoj .gov


                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                       I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                       El Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 2/20/2024, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Honorable Victoria Kaufman
United States Bankruptcy Court
Central District of California
21041 Burbank Boulevard, Suite 354 I Courtroom 301
Woodland 1-lills, CA 91367 United States Bankruptcy Court

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 2/20/2024                       Yathida Nipha                                                  /slYathida Nipha
 Date                           Printed Name                                                    Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy court for the Central District of California.


June 2012                                                                                           F 9013-3.1 .PROOF.SERVICE
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 3. Served by Email:

 U.S. Trustee:
 Katherine Bunker
 kate. buii keru usdoj coy

 SECURED CREDITORS:

8FIG Advance
Attn: Legal Dept.
lealI8fi.com

Amazon Capital Services:
Attn: Lauren Dorsett & Michael Gearin
IaurendorSctt(ad’Vt.cofli
inike.geariiakl..&ates.com

Blue Bridge Financial
Attn: Legal Dept.
leal:ibl uehi’idgelinanc ial.coni

Bluevine
Attn: Officer
l)or1’ublueVi ne. COIn


Cedar Advance
Attn: Simon Cedar
S1 1110 n a cccl arad vance. corn


Corporation Service Company
SPR1:ili1csIobil.m

CT Corporation
uccfilingreturn@wolterskluwer.com


Fasanara Securitisation S.A. Acting
info@nodhdata.com

Financial Pacific Leasing
Attn: Allison Sweet
A S\ CCI (1 l in Pac. COOl

First Corporate Resolution
SPRS@FICOSO.COM

Huntington Valley Bank
Attn: Erin
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June 2012                                                                                           F 901 33.1.PROOF.SERVICE
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 Mercury Capital
  Il1OCiThd V,COfll


Metropolitan Capital Bank & Trust
Attn: Jeffrey Brown
rrabinthompsoncoburn.com ; j hrownd;thornpsoneohurn.eom

Parkside Funding Group LLC
Attn: Adriana Harris
i’\driana:inoinasrecoverv.coni


Partners Personnel Management Services, LLC
Attn: Cherly Canty
CCaniya’espererholdings.com

Robert Reiser and Company
uccti ii ntre1urn(a\voItersk I mer.cont

Sand Park Capital
Attn: Simon Cedar
s mon ‘ucedarad vance. en in

Sellers Funding
Attn: Officer
osaroa’sc1 lersti .com

Shopify Capital
 cgal(ahluehridgetinanciai.com

S lope Advance
Attn: Ashish Jam
ashish’asIo je coin

Spartan Capital
Attn: Jason Gang
JsoI) ‘t1jasongang. coin

Stor RB One Limited
ucc1i1ingreturn(u \‘o1lersklu\ver.corn

U.S. Business Administration
Attn: Elan Levey
elan.leveydusdoj .ov



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June2012                                                                                            F 90133.1.PROOF.SERVICE
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 20 LARGEST UNSECURED CREDITORS

 Easy Post
 Attn: Dustin Henrie
 dhenrieacas post coin

 Facebook
 Attn: Anthony Miller
 Anthon\ vIil lei’ttracliusgs.coin

Fleetcor Technologies Inc.
:flhl: ()t’ficcr
PartnerServices:’aFleetCor.con

Greenberg Traurig
Attn: Reid Hockaday
hOCkLIdaVI’a’:Utla\VCOfl


IRS
Attn: Officer
lrs.go\ .wehsiie.helpdesk’tt,speedyrnail.com

Lyneer Staffying
Attn: Billing Dept.
hill i ng’u Iv neercoin

Parker Group Inc.
Attn: Larry Nessenson, Esq.
lnessenson’djalYeandasher.com

Ramp
Attn: Officer
connnunications(a,ralnpco1n


Jeeves
 lcrrvutrvjeeves.com

Southern California Edison
neth ill ‘ascc .com

UPS
Attn: Mary Kay
N’larv Kay. Pallas’ãiqor.com


We Pack it All
jesselonseca           epackitall.corn
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June 2012                                                                                           F 901 331 .PROOF.SERVICE
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 Rapid Fulfillment LLC
 Attn: Adam Brumage
 A Brumagc’a)col leetmooue,com

 Frisbi
 bill ing’a his bi .com

 Taboola
 Attn: Fred Sampliner
 fsamphner@sampliner.com nmnassianhatkofflaw.com

 MNTN
 legal aniountain.com


 Perpetua
 bil ling(c4pcjptua.io

 Uline
 accounts.recei vableduline.con

 Bakers Authority
 vonia,halccrsaLlthorJtv.con

Attentive Mobile
(JvlCCREADlE(a)nixonpeabody.corn




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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
